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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
                      NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



 This case has been assigned to:
                 District Judge David O. Carter
                 Magistrate Judge John D. Early


 The case number on all documents filed with the Court should read as follows:
                                   8:19−mc−00005−DOC−JDEx
 Most district judges in the Central District of California refer all discovery-related motions to
 the assigned magistrate judge pursuant to General Order No. 05-07. If this case has been
 assigned to Judge Manuel L. Real, discovery-related motions should generally be noticed for
 hearing before the assigned district judge. Otherwise, discovery-related motions should
 generally be noticed for hearing before the assigned magistrate judge. Please refer to the
 assigned judges’ Procedures and Schedules, available on the Court’s website at
 www.cacd.uscourts. gov/judges-requirements, for additional information.




                                                              Clerk, U.S. District Court

  February 13, 2019                                           By /s/ Carmen Reyes
     Date                                                        Deputy Clerk




                                           ATTENTION
 The party that filed the case-initiating document in this case (for example, the complaint or the
 notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
  document. In addition, if the case-initiating document in this case was electronically filed, the
    party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
  copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
  copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                      case-initiating document.



 CV−18 (04/16)               NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
